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                              AT&T Inc.
                               Defendanl                                              )

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To: Julia M Robinson and Kendall J. Hall
              (. am,: o.ft/1 • plomti/f'. alffJ.m,:y or unrep1'C'. ent d t>lainliD)

       I ha c received ur requ t to ~ aiv ervi        fa summons in thi a ti n along with a c                                                 f the c mplaint,
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60 dar from               12/07/2023           , th date when this qu
  nitcd tat . If J fail to d , , a default judgment will be nt red a

Date:           12/07/2023

                              AT&T Inc.                                                                                    AT&Tlnc.
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and fit a op>     ilh tb ourt. B igning anJ returnin • the waiver form. u r allm,ed more time I re pond than if i,ummons hat! been served.

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